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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                  Plaintiff,                     )
                                                 )           Criminal No. l:2016-cr-00228
JURIJS MARTISEVS,                                )
                                                 )
                 Defendant,                      )
                                                 )

                           MOTION TO SUBSTITUTE COUNSEL

       COMES NOW defendant Yury Martyshev, AKA Jurijs Martisevs, by counsel, and

respectfully moves this Honorable Court to substitute counsel of record for Mr. Martyshev in the

above-styled matter. Mr. Martyshev has retained the undersigned counsel and therefore, asks the

Court to permit Eric E. Clingan to withdraw as counsel of record and requests that Alexey V.

Tarasov be substituted as retained counsel of record for all further proceedings in this

matter. The undersigned is associated with local counsel Elizaveta Krukova, who is also entering

her appearance in this matter. Counsel has conferred with Mr. Martyshev, Mr. Clingan, and the

Government on this matter.

                                      Dated this 10th day of January, 2018.
                                      Respectfully submitted,

                                      /s/ Alexey V. Tarasov
                                      Alexey V. Tarasov,
                                      Attorney at Law
                                      Pro Hac Vice
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                                   /s/ Elizaveta Krukova
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                               CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above Motion to Continue was filed and
served electronically pursuant to the CM/ECF system on January 10, 2018, on all counsel of
record.

                                   /s/ Elizaveta Krukova
                                   Elizaveta Krukova,
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